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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                   )
 PETER P. STRZOK,                  )
                                   )
                  Plaintiff,       )
                                   )                         Case No. 1:19-cv-2367-ABJ
         v.                        )
                                   )
 ATTORNEY GENERAL WILLIAM F. BARR, )
 in his official capacity, et al., )
                                   )
                  Defendants.      )
                                   )
                                   )

                UNOPPOSED MOTION TO EXTEND TIME TO RESPOND

       Defendants hereby move for an extension of time to respond to Plaintiff’s complaint in the

above-captioned matter. According to the Court’s October 23, 2019 Order, Defendants’ response

is currently due on Friday, November 8, 2019. Defendants respectfully ask the Court to extend

that deadline until Friday, November 15, 2019.         As Defendants explained previously, the

undersigned, who is the lead attorney in this matter, was on scheduled medical leave during late

October and early November. That leave proved to be more disruptive than the undersigned

initially anticipated and detracted from Defendants’ ability to prepare their response to Plaintiff’s

Complaint.

       This is Defendants’ second request for an extension of time to respond to Plaintiff’s

complaint. Counsel for Defendants contacted counsel for Plaintiff, who indicated that Plaintiff

does not oppose Defendants’ request. Counsel for Plaintiff also indicated that Plaintiff would like

until December 20, 2019 to respond to Defendants’ responsive pleading, and, having no objection,

Defendants incorporate that request into the instant unopposed motion.
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Dated: November 6, 2019                   Respectfully submitted,

                                          JOSEPH H. HUNT
                                          Assistant Attorney General

                                          MARCIA BERMAN
                                          Assistant Branch Director

                                          CHRISTOPHER R. HALL
                                          Assistant Branch Director

                                          /s/ Bradley P. Humphreys
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                   )
 PETER P. STRZOK,                  )
                                   )
                  Plaintiff,       )
                                   )                        Case No. 1:19-cv-2367-ABJ
         v.                        )
                                   )
 ATTORNEY GENERAL WILLIAM F. BARR, )
 in his official capacity, et al., )
                                   )
                  Defendants.      )
                                   )
                                   )

                                     [PROPOSED] ORDER

         Having considered Defendants’ motion for extension of time, Plaintiffs’ consent, and for

good cause shown, IT IS HEREBY ORDERED:

         The deadline for Defendants to respond to Plaintiff’s complaint is extended to November

15, 2019. Plaintiff shall have until December 20, 2019 to respond to Defendants’ responsive

pleading.

         SO ORDERED.



Dated:
                                                     Hon. Amy Berman Jackson
                                                     United States District Judge
